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                          Trumbull County Sheriff’s Office
                                  Sheriff Paul S. Monroe
                                         150 High Street NW                                    Jeffrey Palmer
                                         Warren, Ohio 44481                                           Chief Deputy

                                                                                             Daniel J. Mason
                                                                                                 Major Jail Division

                                                                                             Tony Villanueva
                                                                                               Major Patrol Division

Date:                     July 5, 2022

To:                       Commissioner Fuda, Commissioner Cantalamessa, and

                          Commissioner Frenchko

From:                     Sheriff Paul Monroe

Re:                       Inappropriate Response to a Citizen “Complaint”




Commissioner:

       I am writing this letter as a response to Commissioner Frenchko’s reading at the June 1,
2022, Commissioners public meeting of a letter claiming to be written by the mother of a
previously incarcerated adult inmate in the Trumbull County Jail. Commissioner Frenchko
chose to publically air the contents of the letter without first inquiring with my office or the jail
administration allegations that the letter writer’s son was denied requested medical attention
while housed in the jail. Commissioner Frenchko provided commentary in connection with her
reading of the letter suggesting a factual basis existed to support the alleged denial and
withholding of medical attention when requested. Such a public presentation prior to initiating
an appropriate, investigation through well-established, existing investigatory protocol is contrary
to sound government and procedural justice safeguards. Commissioner Frenchko has been
advised on a least two (2) prior separate occasions of the proper procedure to initiate and/or file
a complaint regarding allegations of improper treatment of inmates. Again, however,
Commissioner Frenchko apparently chose intentionally to ignore the proper and professional
process of addressing the issue initially by forwarding a complaint to the Sheriff’s Office.
Instead, without any investigation or corroboration to verify whether the letter was factually
based or simply unfounded allegations, Commissioner Frenchko chose to read it publically
without even having initiated or attempted to initiate a proper investigative procedure.

                  To date, Commissioner Frenchko has not provided an official complaint, a copy
of the letter to the Sheriff’s Office, or otherwise sought to have an official investigation
commenced (although almost 30-days have passed since she publicized the allegations of the
letter). However, I initiated an investigation into what, if anything, alleged to have been denied

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the inmate as apparently accepted as fact by the Commissioner. Working solely off
Commissioner Frenchko’s social media post of the reading of the inmate’s mother’s letter, the
inmate was identified and all relevant records and other information was gathered and
examined. Not only did the inmate’s records establish an absence of any request for medical
attention been made, but jail records and other relevant information as well as relevant jail
personnel substantiated that no request for medical attention was made, let alone denied.
According to the inmate himself: “This Sheriff is doing a great job.” The complaint had no basis
in fact. Nonetheless, Commissioner Frenchko presented a letter to the public that was neither
accurate nor factually based in a manner clearly indicating that the contrary was true: she
presented this letter as if it were a fact without even minimum good faith adherence to
established procedures.

        Commissioner Frenchko’s presentation not only unnecessarily, inappropriately, and
inaccurately besmirched the performance of the men and women operating the Trumbull County
Jail but also negatively portrayed both the performance and the professional reputation of the
third party vendor providing medical care to inmates of the Trumbull County Jail.

        The third party vendor, Dr. Phillip Malvasi, has provided the necessary and required
medical services for the jail to the Trumbull County Sheriff’s Office for more than twenty (20)
years, long preceding my tenure as Trumbull County Sheriff. My experience has been that Dr.
Malvasi has provided our inmates with quality, professional healthcare throughout my years of
services and, based on my review of records and conversations with multiple long-term jail
personnel, during the entire length of his service contracts. The County’s contract with Dr.
Malvasi has saved taxpayers of Trumbull County hundreds of thousands of dollars by providing
these medical services, as opposed to the County resorting to a corporate vendor at a much
higher cost. Commissioner Frenchko’s improper airing of the unsubstantiated allegations of the
letter has therefore also been detrimental to Dr. Malvasi and the relationship between the
Doctor and Trumbull County. This reckless behavior of Commissioner Frenchko should not be
tolerated by Trumbull County citizens nor other elected officials as it puts taxpayer dollars and
efficient, necessary departmental operations at risk.

       I am requesting a public apology from Commissioner Frenchko as a first step to
regaining public trust. I expect the apology to be delivered in the same public forum as was the
publication of the false accusations.

                                                               Respectfully,



                                                               __________________________

                                                               PAUL S. MONROE

                                                               TRUMBULL COUNTY SHERIFF



       Cc: Dr. Phillip Malvasi



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